          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1054
                                                            Bylaws   Filed 07/22/23 Page 1 of 12



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                                                   Bylaws




   (as amended in convention April 1, 2023)

   I. NAME

   The name of this organization shall be the “Libertarian Party of Michigan,” hereinafter referred
   to as the “Party” or “LPM”.

   II. PURPOSE

   The purpose of this organization is to further the principles of individual liberty as expressed
   in the Statement of Principles of the National Libertarian Party by nominating and working to
   elect candidates for political office and by entering into political information activities and
   affiliating with the National Libertarian Party.




                                                 EXHIBIT 59
https://michiganlp.net/about-us/bylaws/                                                               1/12
          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1055
                                                            Bylaws   Filed 07/22/23 Page 2 of 12


   III. OFFICERS

1. The officers of the Party shall be a chair, a first vice chair, a second vice chair, a secretary, a
   treasurer, and the Congressional district representatives described below, hereinafter referred
   to as the “Executive Committee.” These are the same individuals who shall serve as the
   directors of the “Libertarian Party of Michigan Executive Committee, Inc.” None of these
   offices shall be combined. Except as provided otherwise in these bylaws, all of these officers
   shall be elected to a two-year term at an odd-numbered yearregularconvention of the Party by
   the attending delegates (as to the Congressional district representatives, those delegates
   from the respective districts) and shall take office immediately upon the close of such
   convention and shall serve until the final adjournment of the next odd-numbered yearregular
   convention or until the seat is vacated in accordance with these bylaws.

2. At odd-numbered yeareach regular convention, following the selection of those officers of the
   Executive Committee elected at large, the delegates from each Congressional district shall
   caucus to select one person residing in that district to serve as the Congressional district
   representative for that district.

3. The Executive Committee shall comprise the state central committee of the Party within the
   meaning of state law, notwithstanding any contrary provision of state law calling for a larger
   state central committee, different officers, or a different procedure for selection of officers or
   members of the Executive Committee.

4. The chair shall preside at all meetings of the Executive Committee and at all conventions. The
   chair shall be the chief executive officer of the Party. In the absence of directives from the
   Executive Committee, the chair shall have the authority to speak for, and to generally manage
   the affairs of, the Party. Said authority includes the appointment of a Newsletter Director to
   ensure the timely publication of the “Michigan Libertarian.” For purposes of Party
   representation at all National Libertarian Party conventions, the chair shall be a Michigan
   delegate and shall serve as head of the Michigan delegation.

5. The first vice chair shall act as assistant to the chair and shall perform the duties of the chair
   in his or her absence. The first vice chair shall also act as “affiliates director” helping affiliates
   organize, forming new affiliates, helping student groups organize and forming new student




https://michiganlp.net/about-us/bylaws/                                                                     2/12
           Case
 7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1056
                                                             Bylaws   Filed 07/22/23 Page 3 of 12


    groups. The first vice chair shall also be responsible for organizing seminars to make certain
    that affiliate officers have the information necessary to work effectively with the LPM.

 6. The second vice chair shall act as assistant to the chair, and in the absence of the chair and
    first vice chair, shall perform the duties of the chair. The second vice chair shall also act as
    “political director”, recruiting candidates for public office and helping them organize their
    campaigns. The second vice chair shall also be responsible for organizing seminars to make
    certain that candidates have the information necessary to qualify and run effectively for public
    office.

 7. The secretary shall be the recording officer of the Party, and be responsible for ensuring that
    member-accessible archives are preserved. Excepting the Party newsletter or press releases,
    the secretary shall be responsible for all regular communications within the Party and
    between the Party and outside individuals, groups, and organizations.

 8. The treasurer shall receive, expend, and account for the funds of the Party under the
    supervision and direction of the Executive Committee.

 9. The members of the Executive Committee shall meet in such times and places as they shall
    determine and shall govern all the affairs of the Party. A majority shall rule at meetings of the
    Executive Committee except for resolutions, which shall require a two-thirds vote of those
    present, or as otherwise required by these bylaws.

10. Any member of the Executive Committee may resign upon written notice to the chair and/or
    secretary, which shall take immediate effect. Absence from three consecutive regular
    meetings, by any Executive Committee member, shall be considered a constructive
    resignation, and shall take immediate effect upon close of the third meeting. A member of the
    Executive Committee may be relieved from their duties on the Executive Committee, for cause,
    by a two-thirds vote at a regular meeting of the Executive Committee. All Executive Committee
    members must be notified of the intent of said relief at least 14 days prior to the meeting. A
    member of the Executive Committee may be so relieved from their duties on the Executive
    Committee by a majority vote at any state convention, without the need for prior notice. When
    such a motion is made only those whom the member represents (either district or state wide)
    shall vote first on said relief, and if relieved, a replacement shall be selected immediately by
    the same body.




 https://michiganlp.net/about-us/bylaws/                                                                3/12
           Case
 7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1057
                                                             Bylaws   Filed 07/22/23 Page 4 of 12


11. If the chair is vacated, the first vice chair shall assume the duties of the chair until a new chair
    is elected at the next regular state convention. If both the chair and first vice chair are vacated,
    the Executive Committee must appoint someone to fill the role of the chair who shall serve
    until the next regular convention. If the first vice chair, second vice chair, secretary, or treasurer
    is vacated, the Executive Committee may appoint someone to fill that role who shall serve
    until the next regular convention. If a Congressional district representative position is vacated,
    the Executive Committee may only appoint someone who has been nominated by a caucus of
    members residing in the same Congressional district to fill that role who shall serve until the
    next regular convention. Any vacancies that occur in the interim between conventions,
    whether filled by the Executive Committee or not, shall be filled by majority vote of eligible
    delegates at the next state convention, without the need for prior notice.

12. All officers of the Party must be current members of the Party. An officer whose membership
    lapses must renew at the next meeting after written notice or be removed at that meeting.

13. There shall be a standing legislative committee to monitor, report on, and advocate for
    legislation on behalf of the Libertarian Party.

14. All officers of the Party shall be elected and serve without regard to biological sex, gender,
    race, ethnicity, creed, age, religion, sexual orientation, national origin, ancestry, marital status,
    physical appearance, or economic status.

15. Members of a standing or special committee (except for the Judicial Committee) may be
    appointed by the Executive Committee, by a committee chair, or by the LPM Chair. [All
    appointments must be approved by the Executive Committee. Appointments shall be made
    only at a meeting of the Executive Committee. Only voting members of the LPM shall be
    eligible for appointment as members of a standing committee. The Executive Committee may
    fix a maximum size to any committee (except for the Judicial Committee).

    IV. LOCAL PARTY ORGANIZATIONS

 1. Party members may form organizations entitled to be known as the “Libertarian Party” of their
    respective areas, subject to this Article.

 2. The Executive Committee shall charter affiliate parties, each of which shall cover one or more
    counties of the state, hereinafter referred to as an “affiliate region”, from those organizations




 https://michiganlp.net/about-us/bylaws/                                                                    4/12
          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1058
                                                            Bylaws   Filed 07/22/23 Page 5 of 12


   requesting such status. A copy of the petitioning organization’s proposed operating rules shall
   be submitted with the petition. No organization shall be so chartered which does not ratify the
   Statement of Principles of the Party or whose operating rules do not comply with these
   bylaws. The Executive Committee can arbitrate disputes between affiliates.

3. During years in which the Libertarian Party of Michigan is primary qualified, each affiliate party
   shall oversee the county and district conventions for those counties and districts within its
   affiliate region in accordance with state law (MCL 168.592, 168.594, 168.595, 168.599,
   168.600, 168.601, and 168.602); except that:

1. If an affiliate region covers more than one county or district:

  1. the affiliate may hold a combined convention for all counties and districts within the
       affiliate region at the same place(s) and/or via a synchronous electronic meeting;

  2. State convention delegates and alternates selected by the affiliate need not be
       apportioned to the individual counties or districts or their political subdivisions, but may
       be selected at large from all the counties and districts comprising the affiliate region, or at
       the affiliate’s option, from LPM members residing anywhere in Michigan; and

  3. the affiliate may hold a combined convention for the election of a single affiliate executive
       committee, in lieu of separate executive committees for each county or district.

2. An affiliate may elect in its discretion to adopt affiliate bylaws that organize the affiliate and
   the county(ies) and district(s) comprising its affiliate region in a manner different from the
   provisions of MCL 168.599 and 168.600. If the affiliate does so, then the officers and
   committees of the affiliate and the county(ies) and district(s) comprising its affiliate region
   shall be organized and selected in accordance with the affiliate’s bylaws.

3. For so long as the Party qualifies to elect precinct delegates at primary elections to county
   party conventions under state law, the affiliate shall be required to accept precinct delegates
   so selected as delegates to its county and district conventions, but if the Party ever no longer
   qualifies to elect precinct delegates at primary elections, then the affiliate may set its own
   rules for qualifying delegates to its county and district conventions.

4. For purposes of this Article IV, Section 3, and Article VI, Section 4, below, any counties and
   districts in the State not organized as part of an affiliate region will together be deemed



https://michiganlp.net/about-us/bylaws/                                                                  5/12
          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1059
                                                            Bylaws   Filed 07/22/23 Page 6 of 12


   designated as one or more affiliate regions and overseen by the Executive Committee.

4. The autonomy of the affiliate Parties shall not be abridged by the Executive Committee, or any
   other committee of the Party, except as provided herein.

5. The Executive Committee shall have the authority to suspend affiliate party status from any
   organization by a two-thirds vote. Such suspension is subject to written appeal within thirty
   days of notification. Failure to appeal shall be construed as an act of secession by the affiliate
   party. The Executive Committee shall not suspend any affiliate party within a period of three
   months prior to a state Party convention.

6. The appeal of the affiliate party is to be directed to the Judicial Committee of the Party.
   Written arguments shall be sent to the Judicial Committee by representatives of the Executive
   Committee urging revocation and by representatives of the affiliate party opposing revocation.
   The Judicial Committee shall rule to either revoke the charter of the affiliate party or to
   reinstate the charter within thirty days of receiving the arguments and no later than thirty days
   prior to a State Party convention. Should the Judicial Committee fail to rule timely, the affiliate
   party shall be automatically reinstated with all rights and privileges pertaining thereto. The
   affiliate party may appeal the ruling of the Judiciary Committee to the Judicial Committee of
   the National Libertarian Party following the above procedure.

   V. JUDICIAL COMMITTEE

1. The Judicial Committee’s jurisdiction shall be limited to cases involving alleged violations of
   the bylaws or resolutions by the Executive Committee, its members, or it’s appointees.

2. The judicial power of the Party shall be vested in an ad hocJudicial Committee composed of
   three total Party members. Each side shall appoint one member and the third member will be
   agreed upon by both parties when alleged violations of these bylaws or resolutions occur. No
   member of the Executive Committee or an interested party in the appeal may be a member of
   the Judicial Committee.

3. The ad hoc Judicial Committee shall submit a report to the Executive Committee on cases
   involving alleged violations of these bylaws or resolutions, and shall have the power to
   convene a Special Convention in the event the Executive Committee does not accept the
   recommendations of the Judicial Committee within 15 days.




https://michiganlp.net/about-us/bylaws/                                                                  6/12
          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1060
                                                            Bylaws   Filed 07/22/23 Page 7 of 12


4. The ad hoc Judicial Committee shall be dissolved upon either the acceptance of the
   recommendations by the Executive Committee or the adjournment of any Special Convention
   called for the purpose of resolving a violation as outlined in Article V Section 2, whichever is
   later.

5. All cases facing the Judicial Committee shall be submitted to the LEC Secretary who shall
   then commence the selection proceedings of the Judicial Committee within 14 days.

   VI. CONVENTIONS

1. During years in which a Libertarian Party primary occurs, the Party shall hold a regular fall
   state convention after the date of the primary and not less than 60 days before the general
   November election in accordance with state law (MCL 168.591). During even-numbered years
   in which a Libertarian Party primary election is not required by state law, the Party shall hold a
   regular convention for, but not limited to, the purpose of candidate nominations after the filing
   deadline for candidates to appear on Michigan’s primary ballot and before the date of the
   primary. During odd-numbered years, the Party shall hold a regular state convention between
   April 1 and July 31, performing such business as required herein.

2. The Party shall also hold a regular state convention no later than six weeks prior to the
   scheduled first day of the Libertarian Party National Convention, hereinafter referred to as a
   “national delegate selection convention”. The national delegate selection convention shall be
   for, but not limited to the purpose of selecting national convention delegates. The national
   delegate selection convention may also endorse any candidates for Secretary of State,
   Attorney General and Supreme Court to be formally nominated at the regular fall state
   convention in the same year. Votes for endorsement of candidates shall be made in the same
   manner as for nomination of candidates set forth in Article VII of these bylaws.

3. The Party shall hold a special convention within 45 days upon the call of the Executive
   Committee, by a majority vote of a Judicial Committee, or when petitions are submitted by
   15% of the current membership who have been members for at least 30 days, specifying the
   location, date, time and purpose for the special convention. The petitioners shall organize and
   fund the special convention. The Executive Committee must notify affiliates of the location,
   date, time and purpose of the special convention, immediately upon receipt of petitions.




https://michiganlp.net/about-us/bylaws/                                                                 7/12
          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1061
                                                            Bylaws   Filed 07/22/23 Page 8 of 12


   The Executive Committee must provide notice to members as specified in Article VI Section
   4.D. Due to their expedited nature, special conventions are exempt from the affiliate delegate
   allocation described in Article VI Section 4 and notice requirements in Article VI Section 4.B or
   as required by law. Delegate apportionment for special conventions will match the
   apportionment of the immediately preceding state convention.

4. The Executive Committee shall allocate delegates to all state conventions to be selected by
   each affiliate region in proportion and according to the number of votes cast within the affiliate
   region for the Party’s most recent candidate for secretary of state (MCL 168.593 and
   168.598). Delegates to the national delegate selection convention shall be allocated using the
   same method. An affiliate region may also select a number of alternates no greater than the
   number of delegates allocated to it.

  1. The number of delegates to be seated at state conventions shall be calculated as 25% of
       the state members whose dues have been paid to the Libertarian Party of Michigan as of
       December 31st of the year prior to the state convention. There shall be a minimum of 175
       seats available, though actual numbers may slightly vary due to numbers rounding up at
       the 0.5 interval.

  2. The Executive Committee shall issue a call to each state convention to all affiliates no
       later than 60 days prior to the scheduled date of the state convention, which call shall
       specify the date and location of the state convention and the number of delegates each
       affiliate is entitled to select and send to the state convention. Notwithstanding any
       provision of state law requiring the Executive Committee to set a single date for counties
       and districts to hold conventions for the selection of delegates, each affiliate may select
       the date for its respective convention(s), so long as that date is at least 7 days prior to the
       state convention.

  3. Each affiliate must submit the names, addresses and email addresses of its selected
       delegates and alternates to the LPM Credentials Committee no later than 7 days prior to a
       convention. Failure to submit such a listing by the deadline will cause no delegation to be
       registered from that affiliate. By seven-eighths vote, the convention may approve
       additional delegates and alternates whose names and addresses are submitted to the
       Credentials Committee during the convention.




https://michiganlp.net/about-us/bylaws/                                                                  8/12
          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1062
                                                            Bylaws   Filed 07/22/23 Page 9 of 12


  4. The Executive Committee shall notify every Libertarian Party of Michigan and Michigan
       resident National Libertarian Party member, whose dues were current within 3 years, of
       the convention date, time and location no less than 30 days prior to the convention.
       Notification shall be made by at least one of the acceptable modalities for which contact
       information has been made available by the member. Acceptable modalities shall include
       email, phone, and United States Postal Service.

5. A majority shall rule at the convention except for the platform and resolutions of the Party
   which shall require a two-thirds vote of those present, or as otherwise required by these
   bylaws.

6. The Executive Committee shall have supervision and management of all conventions.

7. The officers of each convention shall be the officers of the Party.

8. A person must be a current member of the Libertarian Party of Michigan in order to serve as a
   delegate to a state convention. A person who has never been a member of the Libertarian
   Party of Michigan must become a member at least 60 days prior to a State convention to be
   eligible, unless that person was a member of the National Libertarian Party at least 60 days
   prior to a State Convention now residing in the state of Michigan, and becomes a dues paying
   member of the state party before being eligible to vote at that convention.

9. Members in good standing who were duly elected as delegates shall not be denied delegate
   status at the business sessions of a convention. Additional charges may be charged to cover
   other materials available at the convention.

   VII. NOMINATION OF CANDIDATES

1. Nomination of candidates for public office shall be made in accordance with state law, via
   primary, district caucus or state convention as necessary. No candidate may be nominated for
   an office for which he/she is legally ineligible to serve.

2. Delegates to the National Convention shall be elected at a national delegate selection
   convention by nominations from the floor. Delegates may be appointed by the Executive
   Committee if the allotted quota is not met. Rules governing delegate procedures shall be
   determined by action of the Convention or, in the absence of directives from the Convention,
   by the Executive Committee. Those provisions of state law governing the selection of national



https://michiganlp.net/about-us/bylaws/                                                            9/12
          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1063
                                                             Bylaws  Filed 07/22/23 Page 10 of 12


   convention delegates shall not apply to the Party’s selection of national convention delegates,
   and no national convention delegate shall be bound by law to vote for a particular candidate.

3. The Party’s nominee for each office shall be chosen by a majority vote of the delegates in
   attendance at the time of voting. If no candidate has a majority, the candidate with the least
   number of votes shall be struck from the next vote until one candidate receives a majority.

4. All votes for candidates for public or Party office shall always include “None of the Above.”

5. Votes cast for “None of the Above” in voting on the Party’s nominees for public office or the
   Party officers shall be considered valid. Should a majority of the votes be cast for “None of the
   Above” in voting for a public office, no candidate shall be nominated for that office. Should
   “None of the Above” be selected for any Party office, that position shall be declared vacant
   and none of the losing candidates for that position may be selected to fill the vacancy for the
   term of office. If a delegate votes for “None of the Above” in a race in which more than one
   candidate is elected, they may not vote for an additional candidate.

   VIII. MEMBERSHIP

   Membership shall be granted to any person who affirms the Statement of Principles and
   whose LPM dues are current.

   IX. ELECTRONIC MEETINGS AND PROCEDURES

1. Asynchronous voting procedure, such as via email ballot, are strictly prohibited for official
   business of any recognized body of the Party, including the executive committee, unless there
   is an agreement to do asynchronous voting in a unanimous motion at a synchronous meeting.
   This does not prohibit other synchronous forms of communication and voting, such as
   conference call or videoconferencing, to be used for official business.

2. The Libertarian Party of Michigan may hold electronic meetings for official party business of
   any recognized body of the State Party, including the Libertarian Executive Committee as well
   as any committees created by the Libertarian Executive Committee, unless specifically
   prohibited from doing so during their creation. Any official party business conducted via
   electronic means shall comply with Electronic Meetings section of the most current edition of
   Robert’s Rules of Order, Newly Revised.




https://michiganlp.net/about-us/bylaws/                                                              10/12
          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS   ECF No. 17-20, PageID.1064
                                                             Bylaws  Filed 07/22/23 Page 11 of 12


3. The Libertarian Party of Michigan may hold electronic meetings to conduct special
   conventions and any conventions in situations where natural disaster, regulatory actions, or
   any extreme circumstance prevent the use of a meeting venue.

   X. FISCAL YEAR

   The fiscal year of the Party shall end December 31.

   XI. LEGAL AND PARLIAMENTARY AUTHORITY

1. The Libertarian Party of Michigan, in the exercise of its constitutional rights of free
   association and speech, as affirmed by the US Supreme Court ruling in Eu, et al., vs. San
   Francisco Democratic Committee, State Central Committee of the Libertarian Party of
   California, et al., reserves the right to accept or decline the application of Michigan statutory
   provisions, which appear to govern its affairs. The incorporation of statutory provisions in
   these bylaws is voluntary and is subject to the foregoing reservation. Any violations of
   statutory provisions by these bylaws are deliberate and will take precedence over such
   statutory provisions.

2. Robert’s Rules of Order Newly Revised shall be the parliamentary authority for all matters of
   procedure not specifically covered by the bylaws or convention rules of the Party.

   XII. AMENDMENTS

   These bylaws may be amended by a two-thirds vote of the delegates present at a convention
   occurring in an odd-numbered year only.

   XIII. USE OF PARTY RESOURCES

   The Party does not support, condone, or give candidates of other political parties access to
   mailing lists, contact information, or administrative access to online social media accounts of
   the Libertarian Party of Michigan for use with their campaign.

   XIV. EFFECT

   These bylaws shall take effect immediately upon adoption.




https://michiganlp.net/about-us/bylaws/                                                                11/12
          Case
7/16/23, 12:07 AM 5:23-cv-11074-JEL-EAS          ECF No. 17-20, PageID.1065
                                                                    Bylaws  Filed 07/22/23 Page 12 of 12


   Previous bylaws may be viewed in the Historical Archives.
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                                             Like Peace Prosperity And Freedom?

                 The Libertarian Party is committed to America’s heritage of freedom: individual
                   liberty and personal responsibility, a free-market economy of abundance and
                          prosperity, a foreign policy of non-intervention, peace and free trade.

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https://michiganlp.net/about-us/bylaws/                                                                    12/12
